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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          2:18-cv-03893-RGK-AGR                                         Date       October 22, 2018
 Title             EDWARDO MUNOZ v. 7-ELEVEN, INC.




 Present: The                    R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
 Honorable
            Sharon Williams                               Sandra MacNeil                            N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         Patrick Peluso                                      Kent Christensen
 Proceedings:                 SCHEDULING CONFERENCE

        Case called. Court and counsel confer. The Scheduling Conference is held. The Court orders
the following dates:

         Jury Trial (Est. 3 days):                        July 2, 2019 at 9:00 a.m.
         Pretrial Conference:                             June 17, 2019
         Motion Cut-Off Date:                             April 17, 2019
         Discovery Cut-Off Date:                          April 3, 2019

         The last day to motion the Court or amend the complaint is December 1, 2018.

         IT IS SO ORDERED.
                                                                                                    :     02
                                                               Initials of Preparer   slw


cc:      ADR UNIT




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